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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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Ser ( “Tey ath
I ¢ d) Plaintiff,
CIVIL CASE DISCOVERY PLAN
AND SCHEDULING ORDER
against
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Defendant(s),
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Seibel, J.

The following Civil Case Discovery Plan and Scheduling Order is adopted, after consultation
with counsel for the parties, pursuant to Rules 26(f) and 16 of the Federal Rules of Civil
Procedure.

1. The case (is) (is not) to be tried to a jury.

2. Amended pleadings may not be filed and additional parties may not be joined except with
leave of the Court. Any pre-motion conference in connection with a motion to amend or join
additional parties must be requested by

3. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall, if not already made, be made by 3[22]23.
4. All fact discovery shall be completed by gl<>(2%

The parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure and
the Local Rules of the United States District Court for the Southern District of New York. The
following interim deadlines shall apply, but may be extended by written consent of all parties
without application to the Court, provided that all fact discovery is completed by the date set
forth above. Any extension that would affect that fact discovery cut-off may be obtained only by
Court order for good cause shown. Any such application will be denied if not made at least three
weeks before the applicable deadline, absent extraordinary circumstances.

a. Initial requests for production of documents are to be served by 4 ¢ é g,

b. Interrogatories are to be served by 4/6] LZ
The provisions of Local Civil Rule 33, (shall) (shall not) apply to this: case.

 

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c, Depositions are to be completed by 7 [24) 23

Unless counsel agree otherwise or the Court so orders, depositions are not fo be held until
all parties have responded to any initial requests for production of documents, and
depositions shall proceed concurrently. Whenever possible, unless counsel agree
otherwise or the Court so orders, non-party depositions shall follow party depositions.
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d. Requests to Admit, if any, are to be served by 7 (2 [23

 

e. Any further interrogatories are to be served by 9 [ 2 {v5
5, All expert discovery is to be completed by _ (0 [v3 /23
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The parties are to conduct expert discovery in accordance with the Federal Rules of Civil
Procedure and the Local Rules of the United States District Court for the Southern District of
New York. At least 30 days before the fact discovery deadline in paragraph 4 above, the parties
shall meet and confer on a schedule for expert disclosures, including independent medical
examinations (if applicable), expert reports, production of underlying documents, rebuttal expert
reports (if applicable), expert interrogatories and expert depositions. Expert reports of the party
with the burden of proof shall ordinarily be due before those of the opposing party’s experts. A
joint proposed expert discovery plan, or a plan setting forth areas of agreement and
disagreement, must be submitted for the Court’s approval at least 21 days before the fact
discovery deadline set forth in paragraph 4 above. L-@ [ 30 [23

Once the expert discovery plan is ordered by the Court, the parties may adjust interim deadlines
by written consent of all parties without application to the Court, provided that all expert
discovery is completed by the date set forth above. Any extension that would affect that expert
discovery cutoff may be obtained only by Court order for good cause shown. Any such
application will be denied if not made at least three weeks before the applicable deadline, absent
extraordinary circumstances.

6. Additional provisions relating to discovery agreed upon by counsel (are) (are not)
attached and made a part hereof.

7. Procedure for discovery disputes:

The party objecting to disclosure, claiming an insufficient response to a discovery request, or
asserting a privilege bears the burden of coming forward by bringing the dispute to the attention
of the court as hereinafter set forth, A dispute arises on the day when the discovery request or
discovery response objected to is received by the adverse party, or should have been received
under the applicable rule(s). The objecting party has 3 business days to attempt an amicable
resolution of the dispute. If the dispute is not affirmatively resolved within 3 business days, the
objecting party then has 5 business days to bring the issue to the attention of the court by a letter
brief limited to two (2) pages. Opposing parties have 5 business days thereafter to submit a two
(2) page answering letter brief. If appropriate, counsel may annex to the letter briefs relevant
portions of relevant documents (not complete documents unless the entire document is relevant).
Letter briefs must be filed on the Court’s Electronic Case Filing system, unless they include or
refer to confidential material, in which case they should be sent via email to chambers. Reply
letter briefs will not be accepted.

When a legal privilege is asserted as a basis for refusing to comply with a discovery demand, the
party asserting the privilege has 3 business days to attempt an amicable resolution of the dispute.
If the dispute is not affirmatively resolved within 3 business days, the party asserting the
privilege then has 5 business days to bring the issue to the attention of the Court by a letter brief
limited to two (2) pages, accompanied by a privilege log in full compliance with Local Civil
Rule 26.2(a)(1) and (2), and an in camera submission of legible copies of any material to which
the privilege is asserted. If the letter, log and copies total more than ten (10) pages, they may not
be faxed. If disclosure of the privilege log would result in a revelation of privileged information,
the party asserting the privilege shall file the log in camera with the Court, and serve a redacted
log on the adverse party. Opposing parties have 5 business days to serve and file an answering
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two (2) page letter brief. No reply letter briefs will be accepted. The time for asserting a
privilege starts 5 business days from the day when counsel for the objecting party receives the
documents from his or her client, but in no event more than 30 days from the date when the
documents are demanded, unless otherwise ordered by the court.

The time limitations set forth in this paragraph 7 may not be extended without the prior approval
of the Court. Any objection to discovery which is not raised within these time limitations will be
waived.

8. Next Case Management Conference (ol 4i[23 j2-(S PA

(This date will be set by the Court at the first conference.) COREA

All counsel must have at least one substantive joint discussion of settlement at least two weeks
before the conference date set forth above. If at any time the parties believe the assistance ofa
Magistrate Judge or court mediator for settlement purposes would be helpful, they should so
advise the Court by letter.

Any party contemplating a motion for summary judgment must submit a pre-motion letter, in
accordance with this Court’s individual practices, at least two weeks before the conference date
above, and the opposing party must respond at least one week before that conference date.

If no motions are contemplated, a date for trial — or, if the Court’s schedule does not permit a
firm date, a date by which the parties should be ready for trial on 48 hours’ notice (or on such
other notice as the Court may prescribe) — will be set at the conference. Dates for the submission
of the Joint Pretrial Order, motions in limine, proposed voir dire questions, and requests to
charge will also be set at the conference. The parties should be prepared for at least the Joint
Pretrial Order to be due 30 days after the close of discovery.

¥. This case has been designated to the Honorable Park Oa On ;
United States Magistrate Judge, for discovery disputes if the Court is unavailable. Upon both
parties signing a Consent for Trial Before a United States Magistrate Judge pursuant to 28 ULS.C.
§ 636(c) (available on the Court’s website), the Magistrate Judge may amend this Plan and
Order, and will, at the appropriate time, set a date certain for trial.

10, Except as otherwise set forth above, this Plan and Order may not be changed without
leave of the Court or the assigned Magistrate Judge acting under a specific order of reference.

SO ORDERED.
Dated: e 22/23
White Plains, New York

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CATHY SEIBEL, U.S.D.J.
